              Case 2:17-cr-00053-JAM Document 121 Filed 06/05/18 Page 1 of 2


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   Sacramento, CA 95814
 3 Telephone: (916) 447-0160

 4
   Attorney for:
 5 Robert Lautenslager

 6
                                 IN THE UNITED STATES DISTRICT COURT
 7
                                    EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                             CASE NO. 17-00053-JAM
10
                                   Plaintiff,              STIPULATION TO CONTINUE J&S TO
11                                                         DECEMBER 4, 2018 AT 9:15 A.M. AND RESET
                            v.                             BRIEFING SCHEDULE
12
     ROBERT LAUTENSLAGER,
13                      Defendant

14
                                                 STIPULATION
15
            Plaintiff United States of America, by and through its counsel of record, and Defendants Robert
16
     Lautenslager, by and through his Counsel of record, Dina Santos hereby stipulate to continue the date
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     for J&S and reset the briefing schedule as follows:
18
            Judgment and Sentencing Date: December 4, 2018 at 9:15 a.m.
19
            Reply, or Statement of Non-Opposition: November 27, 2018
20
            Motion for Correction of the Presentence Report shall be filed with the Court and served on the
21
            Probation Officer and opposing counsel no later than: November 20, 2018
22
            The Presentence Report shall be filed with the Court and disclosed to counsel no later
23
            than: October 30, 2018
24
            Counsel's written objections to the Presentence Report shall be delivered to the Probation Officer
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            and opposing counsel no later than: October 16, 2018
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             Case 2:17-cr-00053-JAM Document 121 Filed 06/05/18 Page 2 of 2


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 2         IT IS SO STIPULATED.

 3

 4 Dated: June 4, 2018                              McGregor Scott
                                                    United States Attorney
 5

 6                                                  /s/ Nirav Desai
                                                    NIRAV DESAI
 7                                                  Assistant United States Attorney

 8
     Dated: June 4, 2018                            /s/ Dina L. Santos
 9                                                  DINA SANTOS, ESQ.
                                                    Attorney for ROBERT LAUTENSLAGER
10

11
                                            ORDER
12
           IT IS SO FOUND AND ORDERED this 4th day of June, 2018
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                                                    /s/ John A. Mendez_________
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15                                                  HON. JOHN A MENDEZ
                                                    UNITED STATES DISTRICT COURT JUDGE
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